
33 N.Y.2d 646 (1973)
Marvin Getlan et al., Copartners, Doing Business as Marvel Co., Appellants,
v.
Hofstra University, Respondent.
Court of Appeals of the State of New York.
Submitted September 10, 1973.
Decided September 20, 1973.
Jasper &amp; Jasper for appellants.
Wydler, Balin, Pares, Soloway, Seaton &amp; Marglin for respondent.
Motion dismissed upon the ground that the order sought to be appealed from does not finally determine the action within the meaning of the Constitution.
On the court's own motion, appeal dismissed, without costs, upon the ground that the question certified by the Appellate Division is not decisive of the case. (Cohen and Karger, Powers of the New York Court of Appeals, pp. 360 et seq.)
